






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00461-CV






Kenneth Pearce and Luana Pearce, Appellants



v.



Jose Chavez, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 261ST JUDICIAL DISTRICT


NO. 99-08983, HONORABLE W. JEANNE MEURER, JUDGE PRESIDING 






	Appellants Kenneth and Luana Pearce have informed this Court that they no longer
want to appeal the district court's judgment.  Accordingly, we will dismiss the appeal.  

	The appeal is dismissed.  



					                                                                                  

					David Puryear, Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Puryear

Dismissed On Appellants' Motion

Filed   November 29, 2001

Do Not Publish


